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United States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.
V.
Scott Daniel Warren MAGISTRATE'S CASE~NO.

DOB: 1982; United States

§3@@§455@@

 

 

Complaint for violation of Title 8 United States Code § 1324(a)(l)(A)(iii)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about January 17, 2018, at or near Ajo, in the District of Arizona, Scott Daniel W-arren, knowing or
in reckless disregard that certain aliens, namely Kristian Perez-Villanueva and Jose Arnaldo Sacaria-Goday,
had come to, entered, and remained in the United States in violation of law, did conceal, harb'or, or shield said
aliens within the United States in any place, including any building or any means of transportation, in
furtherance of such violation of law; in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii).

 

BASIS OF COMPLAINANT'S 'CHARGE AGAINST THE ACCUSED:

On `or about January l7, 2018, at or near Ajo, in the District of Arizona, United States Border Patrol Agents
(BPA) were conducting surveillance on a building known as “the Barn.” BPA saw a Green Nissan Xterra
pull up to “the Barn.” A local resident named Scott Daniel Warren exited the Xterra and entered “the
Barn.” Two subjects that matched a description given of two lost illegal aliens exited “the Barn” with
Warren and talking with him. BPA along with Pima County Sherriff’s Deputies (PCSD) performed a
“knock and talk” on “the Barn” after the subjects reentered “the Barn. ” BPA identified the two subjects as
Kristian PereZ-Villanueva and Jose Arnaldo Sacaria-Goday, and determined that they were in the United
States illegally.

The material witnesses, Kristian Perez-Villanueva and Jose Arnaldo Sacaria-Goday, stated that they
researched online the best ways and methods to cross the border illegally before crossing. The material
witnesses received the address to “the Barn” as a place they could get food and water. They coordinated a
ride with a subject in a white van, who took them to a Chevron station. Perez used the WiFi at the Chevron
to figure out where to go. After finding their way to “the Barn,” Warren met them outside and gave them
food and water for approximately three days. Sacaria said that Warren took care of them in “the Barn” by
giving them food, water, beds, and clean clothes.

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE: Kristian Perez-Villanueva and Jose Arnaldo
Sacaria-Goday

 

 

Detention Requested SIGNATURE OF COMPLAINANT
Being duly sworn, l declare that the foregoing is
true and correct to the best of my knowled e ;’*7“¢/ /

AUTHORIZED BY: AUSA ARW A:Z §§ ; g j/ OFFIC_IAV I-:E
Border tr’ol Agent

 

Sworn to before me and subscribed in my presence.

 

  

DATE
Januarv 18. 2018

   
       

 

 

SIGNATURE MCE§§&$T 111 1)

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l) See Federal rules of Criminal Procedure Rules 3 and 54

